Case 3:17-cv-00072-NKM-JCH Document 1006-14 Filed 08/12/21 Page 1 of 7 Pageid#:
                                   17027




                  EXHIBIT 13
Case 3:17-cv-00072-NKM-JCH Document 1006-14 Filed 08/12/21 Page 2 of 7 Pageid#:
                                   17028




     From : Matthew Heimba ch <matt.hew.w.heim ba ch@gmail.co m>
     Sent:Sunday, July 7, 2019 9:14 PM
     To : Michael Bloch <mbloch@kapla.nhecke r.com>
     Subject: Re: Sine s v. Kessler

     In terms of S.ection 4 "All Documents a nd Communications co nce rning violence, intimidation, or h arassment of
     Pe rsons on the ba sis of race, religion, or ethnicity, includ ing but not limited to, e thnic cleansing, w hite
     genocid e, a white e thno-state, or a ny other form of la rge or sma ll sea.le viole nce." Now, l"ve always a dvoca ted a pe aceful
     solution to proble ms in Ame rica , but to begin providing you with documents I have that may be of intere st a.nd co mple te
     your reque sts, l"ve includ ed the m below, including my unfinish ed ma nuscript fOf my book White Juche. I've included all
     copies of Party e mails I se nt, things relating to organization etc.

     The third pa rty ve ndor of course w ill ge t access to all of my Google docs and communica tions from the Inte rnal Ticket
     System through Mr. Pa rrott. Hopefully this is helpful in my a ttempt to comply with all discovery.

     On Sun, Jul 7, 2019 a t 3:42 PM Matthew Heimbach <matthew.w.heimba ch@gmail.com> wrote:
      Also, her e is a reque st I have writte n to Gab tech support in relation to that           The a ccount ha d been de leted by
      a third pa rty who had the login credentials, this third party is willing to also do a signed affidavit to e xpla in that they
      ha d delet ed the account a nd the reason w hy, if that would be necessa ry fOf your side a nd the coun, but at the very
      least I"m atte mpting to get the informa tion fOf sa id acc ount d irectly from Gab.

      Sorry for the de luge of e mails.
Case 3:17-cv-00072-NKM-JCH Document 1006-14 Filed 08/12/21 Page 3 of 7 Pageid#:
                                   17029




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        On Sun, Jul 7, 2019 at 3:19 PM Matthew Heim bach <m an hew.w .heimbach!'@gmail.com> w rot e:




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         He re is a scre ens hot of my request to Facebook Data Req ue sts to begin the process on my end a s w ell. Sorry fo r the
         e mail spam.

         Bt w I don't know if I missed it , but the initial interrogatories done on my behatf by Mr. Kolenich, I w anted to review
         them before w e proceed on t hat front .

         On Sun, Jul 7, 2019 at 3:16 PM Michael Bloch <mbloch@ka pta nhecker.com> w rot e:

          Thanks v ery much. And confirmed that we received the ot her two documents on Friday.




          M ik e




          From: Ma tthew Heimba ch <m atthe w.w .h eimbach@gmail.com>
          Sent: Sund ay, Juty 7, 2019 3:07 PM


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Case 3:17-cv-00072-NKM-JCH Document 1006-14 Filed 08/12/21 Page 4 of 7 Pageid#:
                                   17030




       To: Michael Bloch <mbloch@kaplanhecker.com>
       Subjea : Re: Sines v. Kessler




       I've sent the proper forms to Disco rd and Twitter, I'm sending y ou copies of the signed r equest s just for r ecord
       keeping purposes.




       On Fri, Jul S, 2019 at 6:49 PM Matthew Heimbach <m atthew.w.heimbach@gm ail.com> wrot e:

        Thanks so much, I'll be getting this done over the w eekend a.nd we can t ouch base at t he first pan of t he w eek for if
        I'm missing anything.




        Also j ust co nf irming you got my appeal of sanctions a.nd t he affidavit from my ex wif e.




        Hope you had a happy 4t h of Juty.




        On Fri, Jul S, 2019, 18:34 Michael Bloch <mbloch@kaplanhecker.com> wrot e:

         Matt,




         In response to your quest ion t he ot her day regarding t he Twitter form, when you complet e t he form you should
         em ail it t o t w-legal@twitter.com.




         Addit ionally, the Request s for Product ion and Int errogatories w e discussed are attached t o my July 1 em ail. I hav e
         re-attached them here for your convenience.




         Thanks,




         M ike




         From : Michael Bloch
         Sent : Monday, July 1, 2019 8:36 PM

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Case 3:17-cv-00072-NKM-JCH Document 1006-14 Filed 08/12/21 Page 5 of 7 Pageid#:
                                   17031




        To: matthew.w.heimbach@gmail.com
        Cc.: Gabrielle E. Tenzer <gtenzer@kaptanhecker.com>
        Subjea : Sin es v. Ke ssle r




        M r. Heimbach:




               We are writing to provide infonnation and m aterials to help you comply with the Court's June 21
        Order concerning th e pending motion for sanctions against you. The June 21 Order references its
        previous orders th at detail your obligations in discovery. Those orders are an ached h ere for your
        convenience. (ECF Nos. 287, 379, 383, 440, and ECF No. 282, at 23-24.)




               Regar ding your discovery obligations, the June 21 Order requires, among oth er things, the
        following:




               Provide complete and accurate written an swers or responses to Plaint iffs' First Set o f
               Interr ogatories an d Request s for Production of Documents, as required by th e Court's Order of
               M ar ch 26, 2108, ECF No. 224. Plain tiffs' First Set of Interrogatories an d Requests for Production of
               Docum ents ar e attached.




               Give Plaint iffs' counsel a complete and accur ate Stored Communication s Act ("SCA"} consent form
               allowing Discord to produce any discoverable documents or electr onically stored informat ion
               (" ESI") in response to Plaintiffs' subpoenas, as required by the Court's Order of November 13,
               2018, ECF No. 379. A copy of the SCA consent th at you must fill out is an ached. Once you fill out
               th e document, you must e-m ail it from the e-m ail addr ess th at is associated with the Discord
               account to sca@b sfllp.com. tf you had or hav e more th an one Discord account th at contained
               potentially relevant docum ents, you must fill ou t a consent form for each account.




               Complet e con sen t form s giving Plaint iffs' counsel access to any other social m edia accounts (e.g.,
               Facebook, Tw in er, Gab) t hat you used to communicate about the Events at issue in this law suit,
               regardless of wheth er those accounts have been disabled, su spended, or deleted. We have
               anached to this em ail an aut horization fonn from Twitter th at will allow data to be recover ed
               f rom susp ended or disabled accounts an d sent t o a third-p arty vendor for im aging.




                   o   Please complete th e attached consen t form. Once th e form is complete, please submit a
                       request through the privacy form at hnps:/ (help.twitter .com/ forms/privacy. In the

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Case 3:17-cv-00072-NKM-JCH Document 1006-14 Filed 08/12/21 Page 6 of 7 Pageid#:
                                   17032




                    sect ion of the fonn ent itled, " Please enter the specific in formation you ar e r equesting:" .
                    you mu st d o two th ings:

                    (a) spedfy what content an d data you are request ing (wh ich sh ould be id en tical to the
                    d ata requested in th e consent fonn}. Specifically, th e data you should reque st is as follows:
                    Profile Data, Follo w er s, Following. Tw eets (an d retweets), Rep lies. Notification s. M essag es
                    (Direct M essages or " DMs" }. Any other item s w e would expect to fin d if w e w ere view i ng
                    you r live twin er accou nt w ith fu ll access and contr ol.




                    (b ) list th e discovery vendor's email ad dress as the email a ddress where the con tent an d
                    d ata should b e sen t (bwilliams@idsinc.com and kkim(@idsinc.com}. (Note th at in the
                    sect ion ent itled, "The email addres.s associated w ith your Twitter accou nt" , th e account-
                    h old er must enter the em ail a ddress asso ciate d w ith th eir susp en ded Twitter accou nt -
                    n ot the discovery vend or's em ail address.}




                o   It is im portant th at the consent form is submitted via email b efore the privacy form
                    request is submitted. After Tw itter receives an d validates both the p aper consent form
                    an d the p rivacy form request, Tw itter will email any request ed an d reasonab ly available
                    conten t and d ata to th e th ird-p ar ty discovery vend or.




             Comply immediately with each of the following provision s in th e Stip ulation an d Ord er for the
             Im aging. Preservation and Pro duction of Docum ents. ECF No. 383 ("Im aging Order"), as requ ired
             by the Court's Orderso!Novem b er 19, 2018, ECF No. 383 and M arch 4, 2019, ECF No. 440:




                o   Execute th e Th ird-Party Discovery Vend or             That contract w ill be sent to you by the
                    third-party v en d or v ia e-mail.




                o   Com p lete an d provide to Plaintiffs' counsel th e Certificat ion Form attach ed as Exh ibit A to
                    the Imaging Order, ECF No. 383, at 16. Th at do cum en t is attached.




                o   M ake available to the Third-Party Discovery Vend or for im aging an d collection any
                    Electr on ic Dev ices or Social M edia Accou nt ident ified in the Defen dant's Certification
                    Form. For any qu est ions. contact Ken Kim at kkim @idsinc.com .




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Case 3:17-cv-00072-NKM-JCH Document 1006-14 Filed 08/12/21 Page 7 of 7 Pageid#:
                                   17033




          If w e can further assist in your complian ce with the Court's orders regarding your discovery obligat ions,
          feel free to con tact m e at this address.




         Michael Bloch IDplan B ecker & Fink LLP
         COuosel
         3,50 Fifth A\Utte ISUite 7110
         NewYorl;NewYork 10118
         (W)929-367-4573 I (M) 6$.398.0345
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